






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00196-CV






Appellants, AEP Texas Central Company; the State of Texas,

by and through the Office of the Attorney General, Consumer Protection

and Public Health Division, Public Agency Representation Section; et al.

// Cross-Appellant, Public Utility Commission of Texas


v.


Appellee, Public Utility Commission of Texas// Cross-Appellees, AEP Texas

Central Company; the State of Texas, by and through the Office of the

Attorney General, Consumer Protection and Public Health Division,

Public Agency Representation Section; et al.






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 250TH JUDICIAL DISTRICT

NO. D-1-GV-06-000827, HONORABLE JOHN K. DIETZ, JUDGE PRESIDING




O P I N I O N


PER CURIAM

		This appeal arises from the final order of the Public Utility Commission in the true-up
proceeding to finalize "stranded costs" and other true-up balances for the AEP Texas Central
Company and CPL Retail Energy, L.P. (collectively "TCC") as a result of the legislative mandate
to bring competition to the retail energy market in Texas.  The district court affirmed the
Commission's final order in most respects, but reversed on three issues.  This Court affirms the
district court's judgment in part, reverses in part, and remands this cause to the Commission for
further proceedings consistent with the Court's opinions.

		Justice Patterson filed a concurring and dissenting opinion, joined by Justices Puryear
and Pemberton in part.  Justice Pemberton filed a concurring opinion, joined by Justice Puryear.

		For the reasons expressed in Justice Patterson's opinion, the Court affirms the district
court's judgment, except that the Court reverses the district court's judgment that: (1) the
Commission erred in excluding the testimony and expert report of Ross A. Sollosy; (2) the
Commission erred in using the interest rate specified in PUC Rule 25.263(l)(3); (3) the Commission
properly refused to consider the potential normalization violation resulting from its treatment of the
amounts held in TCC's federal tax accounts for Accumulated Deferred Investment Tax Credits
(ADITC) and Excess Deferred Federal Income Tax (EDFIT); and (4) the Commission properly
accounted for the excess mitigation credits and interest paid by TCC to its affiliated retail electric
provider.

		For the reasons expressed in Justice Pemberton's opinion, the Court affirms the
district court's judgment that section 39.252(d) of the Public Utility Regulatory Act precludes
the&nbsp;Commission from adjusting the net book value of TCC's generation assets where the
Commission has found that TCC has disposed of those assets in a bona fide third-party transaction
under a competitive offering as required in section 39.262(h).  Accordingly, the Court does not reach
the question of whether the Commission's adjustments to the net book values of TCC's share in the
South Texas Nuclear Project and the Coleto Creek Coal Plant for "commercial unreasonableness"
were supported by substantial evidence.  The Court also affirms the district court's judgment
affirming the Commission's refusal to make book-value adjustments based on the failure to employ
bridge power sales agreements.

		Justice Patterson dissents from the majority's conclusion that section 39.252(d)
precludes the Commission's adjustments to the net book value of TCC's generation assets for
"commercial unreasonableness" related to TCC's sales of the South Texas Nuclear Project and the
Coleto Creek Coal Plant to the extent TCC's commercially unreasonable behavior benefitted the
utility and was not captured in the market valuation of TCC's generation assets.

		


Before Justices Patterson, Puryear and Pemberton;

     Concurring and Dissenting Opinion by Justice Patterson;

          Joined in part by Justices Puryear and Pemberton;

     Concurring Opinion by Justice Pemberton;

          Joined by Justice Puryear


Affirmed in part; Reversed and Remanded in part


Filed:   May 23, 2008


